TIMFse 5:23-C¥RS0802  Bocument 172-3 PPB 04/28/25 Page 1 of 1 PagelD #: 5186

09/08/2023 Email core+Assignment+2 Thanks,
12:33 PM Received 923643+pdfimages
@snapsheet.me Snapsheet Supplement Department

Supplement Support Hotline-312-906-7462
Fax-888-683-0403

www.snapsheet.me/supplements

nonce nena Forwarded message ---------
From: HOME CLMS-STATEFARMCLAIMS
Date: Wed, Sep 6, 2023 at 2:08PM
Subject: 48-40L8-41C

To: suppdocs@snapsheet.me

Thank you,
09/08/2023 phone adjuster IBC from adj, advised of contact and handling of est.
11:34 AM
09/08/2023 phone adjuster IBC from adj, advised of contact on file and handing of supp.
11:33 AM
09/08/2023 email shop set f/u
9:47 AM
09/08/2023 text customer Appraisal Team here! Please reply with a photo of your 4 Comers, and
9:45 AM photos documenting all damage.Thanks!
09/08/2023 phone shop obc to shop : 3043450346 PIC bill : n/a to email for photos.
9:35 AM
09/08/2023 Email Sent statefarmclaims@sta State Farm,
9:31 AM tefarm.com
Please see the attached tow bill for the above claim. Per notes on tow
bill the unit has a broken weld on the hitch causing such a high bill d
ue to the hazard. Please reach out to the shop for any questions and
for payment on the bill.
Regards,
Jessica Younger
Estimator
Snapsheet, Inc.
09/06/2023 phone adjuster IB call for SF sw cierra requesting status of supp adv still waiting to be
2:00 PM assigned and also waiting for supporting docs forsupp adj will send

docs to suppdocs inbox

SNAPSHEET-000086
